          Case 1:22-cr-00276-LTS Document 10 Filed 06/01/22 Page 1 of 2



                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     June 1, 2022

BY ECF
The Honorable Laura Taylor Swain
Chief United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re: United States v. Gregoire Tournant, 22 Cr. 276 (LTS)

Dear Chief Judge Swain:

        The Government writes in advance of the arraignment and initial pretrial conference in this
matter, scheduled for June 2, 2022 at 3:30 p.m., respectfully to advise the Court of a bail package
that the parties have agreed to and are proposing to the Court. The components of the proposed
package are as follows:

   -   $20 million personal recognizance bond, co-signed by three individuals. Those three co-
       signers have already been interviewed and approved by the Government, and will co-sign
       the bond no later June 3, 2022.
   -   The personal recognizance bond is to be secured by (a) five properties owned by the
       defendant in Colorado; and (b) a pledge of the defendant’s retirement accounts and life
       insurance policies that have a collective balance of approximately $3.9 million. With
       respect to the properties, defense counsel has already provided the Government with a
       confession of judgment that has been recorded with the county recorder in Colorado. With
       respect to the retirement accounts and life insurance policies, the defense will provide to
       Pretrial Services and the Government, by letter dated June 2, 2022, the account numbers
       and financial institutions at which the accounts and policies are held, and the parties
       respectfully request that the account information not be included in the public version of
       the bond.
   -   The defendant shall not change the beneficial ownership, control, or assignment of the
       retirement accounts that are pledged as security for the bond. The defendant further shall
       not withdraw or transfer any funds from those retirement accounts. No later than June 9,
       2022, the defendant shall provide a mechanism for immediate liquidation of those
       retirement accounts in the event of a violation of the terms of pretrial release.
   -   Travel restricted to the District of Colorado, District of Nevada, Southern and Middle
       Districts of Florida, and Southern District of New York, with points in between for travel.
            Case 1:22-cr-00276-LTS Document 10 Filed 06/01/22 Page 2 of 2

Honorable Laura Taylor Swain
June 1, 2022
Page 2 of 2



      -   Surrender of travel documents and no new applications.

        As noted above, the Government has conferred with the defense and the package above
represents a joint proposal. Defense counsel has requested that this letter note that they reserve
their rights to seek a modification of this bail package in the future. The Government likewise
reserves its rights to object to any proposed modification.

                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

                                               By:   ___/s_____________________________
                                                     Gina Castellano
                                                     Richard Cooper
                                                     Nicholas Folly
                                                     Margaret Graham
                                                     Assistant United States Attorneys


cc:       Defense counsel (by ECF)




3.31.08
